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8                 IN THE UNITED STATES DISTRICT COURT FOR THE

9                         EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,           )    1:11 CR 223 AWI
11                                       )
                       Plaintiff,        )    STIPULATION TO
12                                       )    CONTINUE SENTENCING
                 v.                      )    DATE and
                                         )    ORDER
13
     JOSE B. ROBLES,                     )
                                         )
14                                       )
                       Defendant.        )
15                                       )
                                         )
16                                       )

17         The parties to this case, the United States of America, by

18   and through Benjamin B. Wagner, the United States Attorney for

19   the Eastern District of California, and Assistant United States

20   Attorney Kevin P. Rooney, and defendant Jose B. Robles, and his

21   attorney, David Candelaria, stipulate as follows:

22         The sentencing date currently set for June 4, 2012 will be

23   continued to July 23, 2012 at 10:00 a.m.          This continuance is

24   ///

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                                             1
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1    requested to facilitate the safety valve procedure, pursuant to

2    18 U.S.C. §3553(f), as possible consistent with counsels’

3    schedules and the transport capacity of the United States

4    Marshall.    So stipulated:

5
      May 30, 2012                     BENJAMIN B. WAGNER
6                                      United States Attorney

7                                By:   /s/ Kevin P. Rooney
                                       KEVIN P. ROONEY
8                                      Assistant U.S. Attorney
9

10    May 30, 2012               By:    /s/ David Candelaria
                                       DAVID CANDELARIA
11                                     Attorney for Defendant

12

13                                       ORDER

14

15        Pursuant to the stipulation of the parties, it is hereby

16   ordered that the sentencing of defendant Jose Robles in this case

     is continued to July 23, 2012 at 10:00 a.m. or such later time or
17
     date as ordered by the court.
18

19
     IT IS SO ORDERED.
20

21   Dated:       May 30, 2012
     0m8i78                        CHIEF UNITED STATES DISTRICT JUDGE
22

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